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 8                        IN THE UNITED STATES DISTRICT COURT

 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,
                                              NO.   CR.S-05-0238 FCD
12               Plaintiff,

13        v.                                  ORDER RE DEFENDANTS’ MOTION
                                              FOR DISCOVERY
14   DALE C. SCHAFER and
     MARION P. FRY,
15
                 Defendants.
16
     ______________________________/
17

18               The above-entitled action came before the court on motions

19   for discovery filed on behalf of defendants Dale C. Schafer and Marion

20   P. Fry.    Through the three motions defendants seek discovery and/or an

21   order with respect to: (1) selective prosecution; (2) Henthorn

22   material; and (3) the rough notes of law enforcement personnel.          At

23   the hearing held on November 29, 2005, Anna Ling appeared on behalf of

24   defendants Schafer and Fry.       Assistant United States Attorney Anne

25   Pings appeared on behalf of plaintiff United States of America.

26   /////


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 1             Upon consideration of the parties' briefs and arguments

 2   presented at the hearing and for the reasons set forth below, the

 3   motion will be denied in part and granted in part.

 4                                    BACKGROUND

 5             In an indictment returned by the federal grand jury on June

 6   15, 2005, the defendants were charged in two counts.         The first count

 7   charges them with conspiracy to distribute marijuana, to manufacture

 8   at least 100 plants of marijuana and to distribute at least 100 plants

 9   of marijuana in violation of 21 U.S.C. §§ 841(a)(1), 846.         The second

10   count charges them with manufacturing at least 100 plants of marijuana

11   in violation of 21 U.S.C. § 841(a)(1).

12             Below the court will first address the legal standards

13   applicable to consideration of the discovery motions and will then

14   apply those standards to the preliminary showing made by the

15   defendants.

16   I.   SELECTIVE PROSECUTION

17             As indicated above, the defendants seek discovery (or in the

18   alternative an evidentiary discovery hearing) with respect to their

19   claim that they are the victims of unconstitutional selective

20   prosecution.   In this regard, defendants have suggested in their

21   moving papers, their reply brief or at the hearing on the motion that

22   they have been improperly selected for federal prosecution because:

23   (1) they have complied with California’s “Compassionate Use Act of

24   1996" with respect to the medical use of marijuana; (2) defendant

25   Schafer is a lawyer and defendant Fry is a medical doctor and both

26   have advised or practiced in the field of California’s medical


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 1   marijuana laws; (3) they have exercised their First Amendment rights

 2   in being outspoken proponents of the use of medical marijuana; (4)

 3   they have a valid defense to cultivation and distribution charges

 4   under California law which federal prosecutors wish to deny them; and

 5   (5) at least in the case of defendant Schafer he is a medical

 6   marijuana patient.

 7          A.   Legal Standards

 8               The United States Supreme Court has considered the showing

 9   necessary for a defendant to be entitled to discovery on a claim of

10   selective prosecution.       See United States v. Armstrong, 517 U.S. 456

11   (1996).     In that case, the defendants had been charged with conspiracy

12   to possess with intent to distribute more than fifty grams of crack

13   cocaine in violation of 21 U.S.C. §§ 841, 846.           Armstrong, 517 U.S. at

14   458.    The defendants filed a motion for discovery in connection with a

15   selective prosecution claim in which they asserted that they had been

16   charged in federal court because they were black.           In support of that

17   motion, the defendants offered the affidavit of a paralegal from the

18   Office of the Federal Public Defender, setting forth a “study” of the

19   twenty-four §§ 841 or 846 cases closed by that office since 1991.             517

20   U.S. at 459.     That “study” concluded that in each such case, the

21   defendant was black.      Id.

22               The Supreme Court concluded that the defendants had failed

23   to satisfy the threshold showing necessary to entitle them to

24   discovery on the issue of selective prosecution.           In reaching this

25   conclusion, the court observed:

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 1             Our cases delineating the necessary elements to
               prove a claim of selective prosecution have taken
 2             great pains to explain that the standard is a
               demanding one. These cases afford a “background
 3             presumption,” cf. United States v. Mezzanatto, 513
               U.S. 196, 203 (1995) that the showing necessary to
 4             obtain discovery should itself be a significant
               barrier to the litigation of insubstantial claims.
 5
                                         * * *
 6
               Having reviewed the requirements to prove a
 7             selective-prosecution claim, we turn to the
               showing necessary to obtain discovery in support
 8             of such a claim. If discovery is ordered, the
               government must assemble from its own files
 9             documents which might corroborate or refute the
               defendant's claim. Discovery thus imposes many of
10             the costs present when the government must respond
               to a prima facie case of selective prosecution.
11             It will divert prosecutors' resources and may
               disclose the government's prosecutorial strategy.
12             The justifications for a rigorous standard for the
               elements of a selective-prosecution claim thus
13             require a correspondingly rigorous standard for
               discovery in aid of such a claim.
14

15   517 U.S. at 463-64, 468.    See also United States v. Turner, 104 F.3d

16   1180, 1184 (9th Cir. 1997)(In order to be entitled to discovery to

17   establish a defense of selective prosecution, a defendant must make an

18   appropriate threshold showing which is to be conducted against the

19   background presumption that the prosecution is properly discharging

20   its duties and not acting with discriminatory bias contrary to the

21   commands of the Constitution.).

22             In Armstrong the Supreme Court recognized a consensus among

23   the federal courts of appeal regarding the requisite showing needed to

24   establish an entitlement to discovery, requiring a presentation of

25   “‘some evidence tending to show the existence of the essential

26   elements of the defense,’ discriminatory effect and discriminatory


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 1   intent.”   517 U.S. at 468 (quoting United States v. Berrios, 501 F.2d

 2   1207, 1211 (2d Cir. 1974)).    See also Turner, 104 F.3d at 1184.     The

 3   court described this “some evidence” threshold showing requirement as

 4   follows:

 5              [The majority of courts] that have confronted the
                issue have required that defendants produce some
 6              evidence of differential treatment of similarly
                situated members of other races or protected
 7              classes. In the present case, if the claim of
                selective prosecution were well founded, it should
 8              not have been an insuperable task to prove that
                persons of other races were being treated
 9              differently than respondents. For instance,
                respondents could have investigated whether
10              similarly situated persons of other races were
                prosecuted by the State of California, were known
11              to federal law enforcement officers, but were not
                prosecuted in federal court. We think the
12              required threshold – a credible showing of
                different treatment of similarly situated persons
13              - adequately balances the government's interest in
                vigorous prosecution and the defendant's interest
14              in avoiding selective prosecution.

15   517 U.S. at 470.

16        B.    Analysis

17              As noted above, in order to be entitled to discovery on a

18   discriminatory prosecution claim, the defendants must make a credible

19   threshold showing presenting some evidence demonstrating that: (1)

20   they are members of a protected class; (2) members of that protected

21   class are being subjected to different treatment than those similarly

22   situated persons who are not members of that protected class; and (3)

23   the different treatment is being meted out with a discriminatory

24   intent.

25              In attempting to meet their burden in this regard,

26   defendants rely solely on the declarations of attorney J. Tony Serra,


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 1   counsel for defendant Dale Schafer.       In his declaration attorney Serra

 2   states merely that he believes “that the primary reason this case is

 3   being federally prosecuted is to deprive defendants” of the medical

 4   marijuana defense that might be available to them in state court.

 5   (Mot. for Disc., Decl. of Counsel filed October 4, 2005 at 2.)          In

 6   addition, counsel asserts that he also believes that “the government

 7   has purposely selected defendants herein because they are licensed

 8   professionals legally exercising their first amendment right, by

 9   advising on or issuing legal medical marijuana recommendations” and

10   that the United States Attorney’s Office in this district has a policy

11   that such cases are to be federally prosecuted.        (Id.)

12              Counsel’s declaration fails to make the required threshold

13   showing.   First, the defendants have made no showing that they are

14   members of a protected class.     Moreover, the defendants have presented

15   no evidence of any case involving differential treatment of similarly

16   situated individuals of a class other than their own.          Thus, the

17   defendants have failed to make a prima facie showing that defendants

18   in other cases truly similarly situated (in terms of number of

19   marijuana plants found, sophistication of growing operation, if any,

20   etc.) have been treated differently or that only those individuals who

21   were professionals advocating the use of “medical marijuana” were

22   considered for federal prosecution.       Obviously, this United States

23   Attorney’s Office frequently prosecutes individuals who are not

24   professionals and who do not advocate the medical use of marijuana for

25   manufacturing and/or distributing marijuana in excess of one hundred

26   plants.    Similarly, none of the other variations of a protected class


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 1   of which they are members suggested by defendants are supported by any

 2   prima facie showing.

 3             The defendants unsupported claim that they are entitled to

 4   discovery because they may have been selected for prosecution because

 5   they exercised their First Amendment rights in being outspoken

 6   advocates for the use of medical marijuana is equally unavailing.     As

 7   the United States Supreme Court has stated in addressing a selective

 8   prosecution claim in a different context:

 9             We think it important to note as a final matter
               how far the implications of petitioner's First
10             Amendment argument would extend. Strictly
               speaking, his argument does not concern passive
11             enforcement but self-reporting. The concerns he
               identifies would apply to all nonregistrants who
12             report themselves even if the Selective Service
               engaged only in active enforcement. For example, a
13             nonregistrant who wrote a letter informing
               Selective Service of his failure to register
14             could, when prosecuted under an active system,
               claim that the Selective Service was prosecuting
15             him only because of his "protest." Just as in
               this case, he could have some justification for
16             believing that his letter had focused inquiry upon
               him. Prosecution in either context would equally
17             "burden" his exercise of First Amendment rights.
               Under the petitioner's view, then, the Government
18             could not constitutionally prosecute a
               self-reporter--even in an active enforcement
19             system--unless perhaps it could prove that it
               would have prosecuted him without his letter. On
20             principle, such a view would allow any criminal to
               obtain immunity from prosecution simply by
21             reporting himself and claiming that he did so in
               order to "protest" the law. The First Amendment
22             confers no such immunity from prosecution.

23   Wayte v. United States, 470 U.S. 598, 613-14 (1985).

24             For all of these reasons, defendants have failed to meet

25   their preliminary burden of demonstrating an entitlement to discovery

26   of evidence relating to a potential selective prosecution defense.


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 1   This conclusion is supported by consideration of the factual record

 2   that the Supreme Court had before it in the Armstrong case.           There,

 3   the defendants had offered the “study” of the twenty-four cases closed

 4   by the Federal Defender's Office in the Central District of California

 5   during 1991 involving alleged violations of 21 U.S.C. §§ 841, 846.

 6   That study listed the twenty-four individual defendants, their race,

 7   and whether they were prosecuted for dealing cocaine as well as crack

 8   cocaine and the status of each case.      In connection with a motion for

 9   reconsideration, the defendants submitted: (1) the affidavit of

10   counsel reporting what he had been told by the intake coordinator at a

11   drug treatment center regarding the equal number of Caucasian, in

12   comparison to minority, drug users and dealers; (2) an affidavit from

13   a criminal defense attorney stating that in his experience, non-blacks

14   are prosecuted in state court for crack cocaine offenses; and (3) a

15   newspaper article suggesting that black defendants charged with crack

16   cocaine offenses in federal court were being disproportionately

17   punished.

18               The United States Supreme Court found that this showing did

19   not constitute “some evidence” tending to show the existence of the

20   essential elements of a selective-prosecution claim.         517 U.S. at 470.

21   In so concluding, the court stated:

22               The study failed to identify individuals who were
                 not black, could have been prosecuted for the
23               offenses for which respondents were charged, but
                 were not so prosecuted. This omission was not
24               remedied by respondents' evidence in opposition to
                 the government's motion for reconsideration. The
25               newspaper article, which discussed the
                 discriminatory effect of federal drug sentencing
26               laws, was not relevant to an allegation of
                 discrimination in decisions to prosecute.

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 1                 Respondents' affidavits, which recounted one
                   attorney's conversation with a drug treatment
 2                 center employee and the experience of another
                   attorney defending drug prosecutions in state
 3                 court, recounted hearsay and reported personal
                   conclusions based on anecdotal evidence.
 4

 5   Id.   The same rationale applies here.

 6                 For all of these reasons, the defendants are not entitled to

 7   discovery with respect to their claim of discriminatory prosecution.

 8   Likewise, having failed to make a prima facie showing of selective

 9   prosecution, they are not entitled to an evidentiary discovery

10   hearing.1

11   II.   Henthorn Materials

12                 By this motion, defendants seek an order compelling the

13   government to provide them with all impeaching material contained in

14   the personnel files of all investigators and law enforcement officers,

15   including all local, state and federal officers, that the government

16   will call to testify in this case.             Although the defendants rely

17   primarily upon the decision in United States v. Henthorn, 931 F.2d 29

18   (9th Cir. 1991), they also argue that where, as here, in presenting

19   its case the government is relying in large part on the work of local

20   law enforcement personnel the government should be required to provide

21   to the defense favorable, exculpatory or impeaching evidence contained

22   in the personnel files of the local law enforcement officers it

23   intends to call as witnesses.          Finally, the defense requests that this

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           1
             Defendants have offered no authority in support of their
26   alternative request that the court conduct an “evidentiary discovery
     hearing” with respect to their selective prosecution claim.

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 1   court conduct a judicial in camera review of these records to assure

 2   the impartiality and thoroughness of that review.

 3              The government responds that it is aware of its obligation,

 4   under United States v. Henthorn, 931 F.2d 29 (9th Cir. 1991), to

 5   examine the personnel files of testifying federal law enforcement

 6   officers for exculpatory and impeaching materials.         The government

 7   reports that once a trial date has been set and the witnesses have

 8   been determined, the government will provide the defendants with

 9   Henthorn, Brady and Giglio material related to those witnesses in time

10   for it to be of use to the defendants at trial.        However, the

11   government opposes the defense motion to the extent it seeks an order

12   requiring federal prosecutors to review the personnel files of state

13   or local law enforcement officers who may be called to testify,

14   arguing that it is not obligated under the law to do so.

15              The government’s position is supported by the law of this

16   circuit.   As one district court has summarized:

17              The government has a duty, after a request by the
                defense, to inspect for Brady material the
18              personnel records of federal law enforcement
                officers who will testify at trial, regardless of
19              whether the defense has made a showing of
                materiality. United States v. Henthorn, 931 F.2d
20              29, 31 (9th Cir. 1991). The court does not have
                the authority to require the prosecutor to
21              personally review the files, however. United
                States v. Jennings, 960 F.2d 1488, 1491 (9th Cir.
22              1992). Henthorn requirements are met when the
                staff of the appropriate agency examines the file
23              and notifies the federal prosecutor of potential
                Brady material, after which the federal prosecutor
24              determines whether the material should be produced
                to the defense or provided to the court for an in
25              camera review. Id. at 1492. The prosecution has
                no obligation to turn over materials not under its
26              control, including personnel files of state law


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 1               enforcement witnesses. United States v.
                 Dominguez-Villa, 954 F.2d 562, 566 (9th Cir.
 2               1992).

 3   United States v. Colima-Monge, 962 F. Supp. 1337, 1339 (D. Or. 1997).

 4   The government’s duty in this regard has been found not to extend

 5   beyond the category of records strictly defined by the court in

 6   Henthorn.   United States v. Santiago, 46 F.3d 885, 895 (9th Cir.

 7   1995); United States v. Dominguez-Villa, 954 F.2d 562, 565 (9th Cir.

 8   1992).   With respect to the district court’s interference in the

 9   practices of the executive branch in complying with Henthorn, absent a

10   showing of necessity, Jennings remains the law of this circuit.

11   United States v. Herring, 83 F.3d 1120 (9th Cir. 1996).          Accordingly,

12   the court declines defendants’ invitation to conduct the review of

13   personnel files itself.    Finally, without regard to the decisions in

14   Herring, Jennings and Henthorn, under Brady the government is

15   obligated, upon request, to disclose information to the defense

16   regarding government witnesses that could be used to impeach them.

17   See United States v. Bagley, 473 U.S. 667, 675-77 (1985).

18               Under these principles, the government’s obligation to

19   review personnel files includes those of all federal law enforcement

20   officers who are called to testify at trial or in connection with any

21   pretrial motion.   The scope of information disclosed shall include all

22   information favorable to the defense in attempting to impeach the

23   witness, including either disclosure or in camera submission of

24   documents reflecting any complaint, investigation or internal

25   administrative or disciplinary proceeding regardless of whether the

26   complaint or allegation was found to be credible by the agency.          See


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 1   United States v. Kiszewski, 877 F.2d 210, 215-16 (2d Cir. 1989) (case

 2   remanded due to district court’s refusal to compel production of FBI

 3   agent’s personnel file for in camera inspection based upon the

 4   government’s representation that the file contained complaints and

 5   allegations that were deemed unfounded or upon which the agent was

 6   exonerated and thus contained no Brady material).

 7                The defendants’ request that the government be required to

 8   produce the discovery sought at least ninety days before trial will be

 9   denied.     With respect to witnesses to be called to testify at any

10   evidentiary hearings on pretrial motions or at trial, such information

11   shall be produced to the defense sufficiently in an advance of the

12   proceeding so as to permit defense counsel to effectively use the

13   material.

14                To the extent the defense wishes to seek exculpatory or

15   impeachment materials from the personnel files of state or local law

16   enforcement officers involved in this investigation, it is again

17   suggested to counsel, as it was at the hearing on this motion, that

18   they proceed by way of subpoena.         See United States v. Vought, 69 F.3d

19   1498, 1501 (9th Cir. 1995) (“The district court suggested that

20   [materials in the possession of state law enforcement] might be

21   discoverable in part under Fed. R. Crim. P. 17(c).”)2

22   /////

23   /////

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          2
             The Assistant United States Attorney stated at the hearing
25   that she would attempt to facilitate the production of such records by
     local officials pursuant to defense subpoenas so long as those
26   subpoenas called for production of records in connection with an
     evidentiary hearing or trial.

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 1   III. Rough Notes of Law Enforcement

 2             Defendants request an order restraining all law enforcement

 3   personnel who investigated the charges in this and related cases from

 4   destroying any notes relating to the investigation or indictment.           In

 5   addition, the defendants seek discovery of such notes, at the

 6   appropriate time, to the extent they contain evidence favorable to the

 7   defendants, reflect statements of witnesses, contain statements of the

 8   defendants or otherwise contain Brady material.        The defendants also

 9   again request discovery of all Jencks Act material at least ninety

10   days before trial.

11             The government opposes the request as overbroad while

12   acknowledging its obligation, to preserve original notes taken by

13   agents during interviews with prospective government witnesses or with

14   an accused.   See United States v. Harris, 543 F.2d 1247, 1253 (9th

15   Cir. 1976).   In this regard, the government argues that the rough

16   notes of such interviews will not constitute Jencks material if they

17   are cryptic, not substantially verbatim, incomplete and not signed or

18   adopted by the witness.    See United States v. Boshell, 952 F.2d 1101,

19   1104 (9th Cir. 1991); United States v. Bobadilla-Lopez, 954            F.2d 519,

20   522 (9th Cir. 1992).    Accordingly, the government agrees to preserve

21   the notes of witness and defendant interviews and to produce them to

22   the defense at the time of Jencks material production, if the notes

23   contain information not included in a formal report.         With respect to

24   Brady material, the government represents that it is unaware of any

25   notes containing exculpatory information with respect to these

26   defendants but that it will preserve notes currently in its possession


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 1   and, if any exculpatory information is discovered therein, it will be

 2   produced in ample time for the defendants to make use of it.

 3               The government is correct that agents’ interview notes are

 4   discoverable under the Jencks Act only to the extent they contain

 5   “statements” of government witnesses.       United States v. Henke, 222

 6   F.3d 633, 643 (9th Cir. 2000) (citing United States v. Boshell, 952

 7   F.2d 1101, 1104-05 (9th Cir. 1991)).       Moreover, the Ninth Circuit “has

 8   held that an agent’s rough notes . . . are not producible under the

 9   Jencks Act due to the incomplete nature of the notes.”         United States

10   v. Alvarez, 86 F.3d 901, 906 (9th Cir. 1996) (citing United States v.

11   Bernard, 623 F.2d 551, 557-58 (9th Cir. 1979)).        Accordingly, any

12   rough notes reflecting a statement of government witnesses as defined

13   by 18 U.S.C. § 3500(e) shall be produced with the other Jencks Act

14   material turned over by the government.       See United States v. Alvarez,

15   358 F.3d 1194, 1207 n.7 and 1211 (9th Cir.), cert. denied, ___ U.S.

16   ___, 125 S. Ct. 126 (2004).     In addition, the government will be

17   directed to preserve all other interview notes or other notes

18   containing discoverable material pending the conclusion of this case.

19   United States v. Spencer, 618 F.2d 605, 606–07 (9th Cir. 1980)

20   (requiring the government to preserve only discoverable notes).

21               As with their Henthorn request, the defendants again request

22   that the government be required to produce Jencks discovery at least

23   ninety days before trial.     In light of 18 U.S.C. § 3500, the court

24   cannot enter an order requiring early disclosure of Jencks Act

25   material.   Accordingly, the defense’ request for early disclosure is

26   denied.   Of course, the parties are encouraged to agree upon Jencks


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 1   material disclosure at a time that will permit the trial of the case

 2   to proceed in an orderly fashion.3

 3                                           CONCLUSION

 4                For the reasons set forth above, IT IS HEREBY ORDERED that:

 5   (1) the defendants’ motion for discovery with respect to their

 6   selective prosecution claim is denied; (2) the defendants’ request for

 7   Henthorn materials is granted in part and denied in part; and (3) the

 8   defendants’ motion for discovery of and an order requiring retention

 9   of the rough notes of law enforcement personnel in connection with

10   this investigation is granted in part and denied in part.

11   DATED: November 30, 2005.

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             The court notes that the Assistant United States Attorney
     indicated at the hearing that the government has already produced to
25   the defense all reports reflecting witness statements and that the
     only Jencks material that has not been disclosed already, even though
26   no trial date is yet set, is the grand jury testimony of the witnesses
     who will testify at trial.

                                                 15
